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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF INDIANA
                                 FORT WAYNE DIVISION

 UNITED STATES OF AMERICA                      )
                                               )
        v.                                     )      CASE NO.: 1:10-CR-80-2-TLS
                                               )
 KENYETTA STARKS                               )

               ORDER ACCEPTING FINDINGS AND RECOMMENDATION

        This matter is before the Court on the Findings and Recommendation of the United States

 Magistrate Judge [ECF No. 35], filed on January 10, 2011. The Defendant has waived objection

 to the Report and Recommendation, and the Court, being duly advised, adopts the Findings and

 Recommendation [ECF No. 35] in its entirety and accepts the recommended disposition.

 Subject to this Court’s consideration of the Plea Agreement pursuant to Fed. R. Crim. P.

 11(c)(3), the plea of guilty to the offense charged in the Indictment is hereby accepted, and the

 Defendant is adjudged guilty of such offense.

        The Defendant shall appear for sentencing on April 20, 2011, at 1:00 PM before Judge

 Theresa L. Springmann. Any request for a sentence involving a departure under the United

 States Sentencing Guidelines, or for a variance above or below a Guidelines sentence pursuant to

 18 U.S.C.§3553(a), with the exception of matters raised pursuant to §5K1.1 of the Guidelines,

 shall be communicated to the probation officer and opposing counsel, in writing, within fourteen

 (14) days following initial disclosure of the presentence report. Any sentencing memorandum

 addressing these or any other issues, including requests for a departure based on § 5K1.1 of the

 Guidelines, shall be filed with the Court no later than seven (7) days prior to the sentencing

 hearing.

        SO ORDERED on January 25, 2011.
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                                   s/ Theresa L. Springmann
                                   THERESA L. SPRINGMANN
                                   UNITED STATES DISTRICT COURT
